       Case 6:23-cv-01882-MC                Document 10        Filed 01/25/24        Page 1 of 3




                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON


Siemens Medical Solutions USA,
                           , Inc.,
                                                          Case No.: 6:23-cv-01882
                           Plaintiff(s),
                                                          MOTION FOR LEAVE TO APPEAR
 v.                                                       PRO HAC VICE

WS Acquisition, LLC dba Western Shelter Systems
                           Defendant(s).



        Attorney William B. O'Reilly                            requests special admission pro hac
vice to the Bar of the United States District Court for the District of Oregon in the above-
captioned case for the purposes of representing the following party (or parties):
Siemens Medical Solutions USA, Inc.,

        In support of this application, I certify that: 1) I am an active member in good standing
with the DC and NY             State Bar; and 2) that I have read and am familiar with the Federal
Rules of Evidence, the Federal Rules of Civil and Criminal Procedure, the Local Rules of this
Court, and this Court's Statement of Professionalism.
        I understand that my admission to the Bar of the United States District Court for the
District of Oregon is solely for the purpose of litigating in the above matter and will be
terminated upon the conclusion of the matter.

         (1)      PERSONAL DATA:
                  Name: O'Reilly, William B.
                           (Last Name)                  (First Name)                  (MI)            (Suffix)
                  Agency/firm affiliation: Crowell & Moring LLP
                  Mailing address: 1001 Pennsylvania Ave NW
                  City: Washington                                     State:DC              Zip: 20004
                  Phone number: (202) 624-2500                         Fax number:   (202) 628-5116

                  Business e-mail address: woreilly@crowell.com




U.S. District Court – Oregon                                       Motion for Leave to Appear Pro Hac Vice
[Rev. 11/2019]                                                                                  Page 1 of 3
       Case 6:23-cv-01882-MC              Document 10        Filed 01/25/24        Page 2 of 3




         (2)       BAR ADMISSION INFORMATION:
                   (a)     State bar admission(s), date(s) of admission, and bar number(s):
                           District of Columbia, 2017, 1046686
                           New York, 2016, 5462759
                   (b)     Other federal court admission(s) and date(s) of admission:
                            Fed. Cir., 2019



         (3)       CERTIFICATION OF DISCIPLINARY ACTIONS:
               ☐ I am not now, nor have I ever been, subject to any disciplinary action by any
                 state or federal bar association or subject to judicial sanctions.

               ☐ I am now or have been subject to disciplinary action by a state or federal bar
                  association or subject to judicial sanctions. (Attach letter of explanation.)

         (4)       CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                   Pursuant to LR 83-3, I have professional liability insurance, or financial
                   responsibility equivalent to liability insurance, that meets the insurance
                   requirements of the Oregon State Bar for attorneys practicing in this District,
                   and that will apply and remain in force for the duration of the case, including
                   any appeal proceedings.

         (5)       CM/ECF REGISTRATION:
                   I acknowledge that I will become a registered user of the Court's case
                   management and electronic case filing system (CM/ECF) upon approval of this
                   application, and I consent to electronic service pursuant to Fed. R. Civ. P.
                   5(b)(2)(E) and the Local Rules of the District of Oregon.

Certification of Attorney Seeking Pro Hac Vice Admission: I have read and understand the
requirements of LR 83-3, and I certify that the above information is true and correct.


        DATED: January 24, 2024



                                                           s/William B. O'Reilly
                                                        (Signature)




U.S. District Court – Oregon                                     Motion for Leave to Appear Pro Hac Vice
[Rev. 11/2019]                                                                                Page 2 of 3
       Case 6:23-cv-01882-MC           Document 10          Filed 01/25/24      Page 3 of 3




REQUIREMENT TO ASSOCIATE WITH LOCAL COUNSEL:

LR 83-3(a)(1) requires applicants for pro hac vice admission to associate with local counsel,
unless requesting a waiver of the requirement under LR 45-1.

To request a waiver of the requirement to associate with local counsel under LR 45-1, check the
following box:

    ☐ I seek admission for the limited purpose of filing a motion related to a subpoena that this
      Court did not issue. Pursuant to LR 45-1(b), I request a waiver of the LR 83-3(a)(1)
      requirement to associate with local counsel and therefore do not include a certification
      from local counsel with this application.

To associate with local counsel, provide the following information about local counsel, and
obtain the signature of local counsel.

Name: Piper, Edward A.
                        (Last Name)          (First Name)                    (MI)             (Suffix)
OSB number: 141609

Agency/firm affiliation: Angeli Law Group

Mailing address: 121 S.W. Morrison Street, Suite 400

City: Portland                                State: Oregon      Zip:                     97204

Phone number: (503) 954-2232                  Fax number: (503) 227-0880

Business e-mail address: ed@angelilaw.com

CERTIFICATION OF ASSOCIATE LOCAL COUNSEL:

I certify that I am a member in good standing of the bar of this Court, that I have read and
understand the requirements of LR 83-3, and that I will serve as designated local counsel in case
number 6:23-cv-01882                  .


DATED: January 24, 2024                      .



                                             (Signature of Local Counsel)




U.S. District Court – Oregon                                  Motion for Leave to Appear Pro Hac Vice
[Rev. 11/2019]                                                                             Page 3 of 3
